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PROCEEDING MEMO AND MINUTES OF
THE CHAPTER 7 341-A MEETING

 

 

 

 

 

06/11/19
IN RE: HOVEN, CHRISTOPHER SCOTT CASE NO:19-10514
Judge: Douglas D. Dodd
DEBTOR(S) CHAPTER 7
APPEARANCES:
@Y DEBTOR(1) ( ) DEBTOR (2) (Wife in Joint Cases)
(,-yKequired picture I.D. produced ( ) Required picture ID. produced
() Required SSN verification produced ( ) Required SSN verification produced
( ) Pay Advices received ( ) Pay advices received
Abuse / No Abuse designation is (  ) Accurate ( _ ) Inaccurate because
Credit counseling certificate ( ) Filed ( ) Not Filed
Tax Returns received for ( )2017 ( )2018 on
Financial Documents were ( ) retained by trustee ( ) returned to debtor (s)
( )D OR’S REPRESENTATIVE:
ATTORNEY FOR DEBTOR(S): GREG GOQUNER
DEBTOR(S) APPEARED PRO SE
YES( ) NOC_) IfPro Se, did anyone assist with preparation?
YES( ) NOC )Ifyes, debtor has completed pro se form?
(he MEET OF CREDITORS WAS:
( LD
( ) NOT HELD
( ) NOT CONCLUDED AND IS CONTINUED TO THE day of 2019.

 

AT O’CLOCK. .M.
YES ( )} NO (__ ) Attorney for Debtor filed statement of compensation pursuant to 11 U.S.C. 329?
YES ( ) NO (__ )Has attorney filed the Attorney Declaration in accordance with Local Rule?

CREDITOR(S) >, Ses _ a fk cae D OD. Ie

DEBTOR(S) REQUIRED TO:
( )AMEND Schedules and Statements within days of 341(a) Meeting.

 

( ) OTHER:
In accordance with Rule 6007, FRBP, the trustee announced an intention to abandon any interest in:

 

 

ADDITIONAL
(_ ) File State and Federal Income Taxes for 2018 by: ; Copies to Trustee; Originals to Government and

turno¥er all refunds to trustee. —_- . 5 ‘
(’) Provide Bank Statement by Aun. Zo j cD t GF for Personal | Rrouey, Acets .

DATED: 06/11/19 USTEE: RQ _

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‘ C 6a" wr
Track# 4 TIME CONCLUDED: 1 é A/M /s/ Dwavne M.

  
   
 

ay, Trustee

 
